        Case
         Case1:19-cr-00366-CBA-SJB
               2:20-mj-05010-DUTY Document
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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                    CRIMINAL MINUTES – GENERAL


Case No.        20-05010M                                                                Date: October 20, 2020


Present: The Honorable: ALEXANDER F. MacKINNON, U.S. MAGISTRATE JUDGE

Interpreter N/A

                  Ilene Bernal                      Sherri Kleeger                            Benjamin Balding
                  Deputy Clerk                  Court Reporter / Recorder                     Assistant U.S. Attorney


  U.S.A. v. Defendant(s)             Present Cust   Bond          Attorneys for Defendants:      Present App Ret


SALVADOR CIENFUEGOS-ZEPEDA N/A              X                   Duane Lyons                     X                        X


Proceedings: HRG: DETENTION HEARING (HELD VIA VTC)

       Detention hearing held. The defendant is ordered detained. The Court is advised that the defendant will
be submitting a waiver of arrival of process and identity hearing. After the Court has received and approved the
waiver, it is ordered that the defendant is held to answer to the Eastern District of New York. Upon the request
of defendant, the order for removal will not be signed until October 23, 2020.




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